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                             Hearing Date: May 16, 2019 at 10:00 a.m. (Prevailing Eastern Time)
                          Objection Deadline: May 9, 2019 at 4:00 p.m. (Prevailing Eastern Time)
 Steven J. Reisman, Esq.                                     Peter A. Siddiqui, Esq. (admitted pro hac vice)
 Cindi M. Giglio, Esq.                                       KATTEN MUCHIN ROSENMAN LLP
 Jerry L. Hall, Esq. (admitted pro hac vice)                 525 W. Monroe Street
 KATTEN MUCHIN ROSENMAN LLP                                  Chicago, IL 60661
 575 Madison Avenue                                          Telephone:        (312) 902-5455
 New York, NY 10022                                          Facsimile:        (312) 902-1061
 Telephone:        (212) 940-8800                            peter.siddiqui@kattenlaw.com
 Facsimile:        (212) 940-8876
 sreisman@kattenlaw.com
 cindi.giglio@kattenlaw.com
 jerry.hall@kattenlaw.com

 Counsel to Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
     In re:                                                    )        Chapter 11
                                                               )
     SIZMEK INC., et al.,1                                     )        Case No. 19-10971(SMB)
                                                               )
                                       Debtors.                )        (Jointly Administered)
                                                               )

   NOTICE OF HEARING ON DEBTORS’ MOTION FOR ORDER PURSUANT TO
  BANKRUPTCY CODE SECTIONS 105, 365, AND 554, BANKRUPTCY RULES 6006
    AND 9014, AND LOCAL BANKRUPTCY RULE 6006-1 AUTHORIZING AND
 APPROVING EXPEDITED PROCEDURES FOR REJECTION AND ASSUMPTION OF
            EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                    AND GRANTING RELATED RELIEF
              PLEASE TAKE NOTICE that on May 2, 2019, the above-captioned debtors and debtors

 in possession (collectively, the “Debtors”) filed Debtors’ Motion for Order Pursuant to

 Bankruptcy Code Sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and Local

 Bankruptcy Rule 6006 1 Authorizing and Approving Expedited Procedures for Rejection and



 1
       Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Sizmek Inc. (4624); Sizmek DSP, Inc. (2319); Point Roll, Inc. (3173); Sizmek Technologies,
       Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106);
       and X Plus Two Solutions, LLC (4914). The location of Debtors’ service address for purposes of
       these chapter 11 cases is: 401 Park Avenue South, Fifth Floor, New York, NY 10016.



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 Assumption of Executory Contracts and Unexpired Leases and Granting Related Relief (the

 “Motion”). A hearing (the “Hearing”) on the Motion will be held before the Honorable Stuart M.

 Bernstein, United States Bankruptcy Judge, United States Bankruptcy Court for the Southern

 District of New York, at the United States Bankruptcy Court for the Southern District of New

 York, One Bowling Green, New York, NY 10004-1408 on May 16, 2019 at 10:00 a.m.

 (prevailing Eastern Time).

          PLEASE TAKE FURTHER NOTICE that any responses or objections (each,

 an “Objection”) to the Motion and the relief requested therein shall be in writing, shall conform to

 the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the Southern District

 of New York, and the Order Establishing Certain Notice, Case Management, and Administrative

 Procedures (the “Case Management Order”) [Docket No. 103], shall set forth the basis for the

 Objection and the specific grounds therefore, and shall be filed with the Court electronically in

 accordance with General Order M-399 by registered users of the Court’s case filing system (the

 User’s        Manual    for   the   Electronic   Case    Filing   System    can    be   found     at

 http://www.nysb.uscourts.gov, the official website for the Court), with a hard copy delivered

 directly to chambers pursuant to Local Bankruptcy Rule 9070-1 and served so as to be actually

 received no later than May 9, 2019, at 4:00 p.m. (prevailing Eastern Time) (the “Objection

 Deadline”), upon the parties on the Master Service List (as defined in the Case Management

 Order), including the following:

          a. Counsel to Debtors, Katten Muchin Rosenman LLP, 575 Madison Avenue, New York,

                NY 10022-2585, Attn.: Steven J. Reisman, Esq., Cindi M. Giglio, Esq., and Jerry L.

                Hall, Esq., and Katten Muchin Rosenman LLP, 525 West Monroe St., Chicago, IL

                60661-3693, Attn.: Peter A. Siddiqui, Esq.;


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         b. The Office of The United States Trustee, U.S. Federal Office Building, 201 Varick

               Street, Suite 1006, New York, New York 10014, Attn.: Richard Morrissey, Esq.;

         a. Proposed counsel to the official committee of unsecured creditors appointed in these

               chapter 11 cases (the “Committee”), Cooley LLP, 55 Hudson Yards, New York, NY

               10001, Attn: Seth Van Aalten, Esq.; Michael Klein, Esq.; Robert Winning, Esq.; and

               Lauren Reichardt, Esq.

         b. counsel to the agents under Debtors’ prepetition financing agreements;

         c. counsel to Debtors’ equity sponsor;

         d. holders of the 50 largest unsecured claims against Debtors (on a consolidated basis);

         e. the United States Attorney’s Office for the Southern District of New York;

         f. the Internal Revenue Service;

         g. the office of the Attorney General for the State of New York;

         h. the Securities and Exchange Commission; and

         i. any party that has requested notice pursuant to Bankruptcy Rule 2002.

         PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and served

 with respect to the Motion, Debtors shall, on or after the Objection Deadline, submit to the Court

 an order substantially in the form annexed as Exhibit A to the Motion, which order the Court may

 enter with no further notice or opportunity to be heard.

         PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

 thereafter from time to time without further notice other than an announcement of the adjourned

 date or dates at the Hearing. Debtors will file an agenda before the Hearing, which may modify

 or supplement the Motion to be heard at the Hearing.




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         PLEASE TAKE FURTHER NOTICE that a copy of the Motion may be obtained free

 of charge by visiting the website of Stretto at https://cases.stretto.com/sizmek. You may also

 obtain copies of any pleadings by visiting the Court’s website at http://www.nysb.uscourts.gov in

 accordance with the procedures and fees set forth therein.



 Dated: May 2, 2019                   /s/ Steven J. Reisman
 New York, NY                         KATTEN MUCHIN ROSENMAN LLP
                                      Steven J. Reisman, Esq.
                                      Cindi M. Giglio, Esq.
                                      Jerry L. Hall, Esq. (admitted pro hac vice)
                                      575 Madison Avenue
                                      New York, NY 10022-2585
                                      Telephone: (212) 940-8800
                                      Facsimile: (212) 940-8876
                                      Email:       sreisman@kattenlaw.com
                                                    cindi.giglio@kattenlaw.com
                                                   jerry.hall@kattenlaw.com

                                      -and-

                                      Peter A. Siddiqui, Esq. (admitted pro hac vice)
                                      KATTEN MUCHIN ROSENMAN LLP
                                      525 W. Monroe Street
                                      Chicago, IL 60661-3693
                                      Telephone: (312) 902-5455
                                      Email:      peter.siddiqui@kattenlaw.com

                                      Counsel to Debtors and Debtors-in-Possession




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                                Hearing Date: May 16, 2019 at 10:00 a.m. (Prevailing Eastern Time)
                             Objection Deadline: May 9, 2019 at 4:00 p.m. (Prevailing Eastern Time)
 Steven J. Reisman, Esq.                                             Peter A. Siddiqui, Esq. (admitted pro hac vice)
 Jerry L. Hall, Esq. (admitted pro hac vice)                         KATTEN MUCHIN ROSENMAN LLP
 Cindi M. Giglio, Esq.                                               525 W. Monroe Street
 KATTEN MUCHIN ROSENMAN LLP                                          Chicago, IL 60661
 575 Madison Avenue                                                  Telephone:      (312) 902-5455
 New York, NY 10022                                                  Facsimile:      (312) 902-1061
 Telephone:       (212) 940-8800                                     peter.siddiqui@kattenlaw.com
 Facsimile:       (212) 940-8876
 sreisman@kattenlaw.com
 jerry.hall@kattenlaw.com
 cindi.giglio@kattenlaw.com

 Counsel to Debtors and Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                    )
     In re:                                                         )        Chapter 11
                                                                    )
     SIZMEK INC., et al.,2                                          )        Case No. 19-10971 (SMB)
                                                                    )
                                           Debtors.                 )        (Jointly Administered)
                                                                    )

        DEBTORS’ MOTION FOR ORDER PURSUANT TO BANKRUPTCY CODE
     SECTIONS 105, 365, AND 554, BANKRUPTCY RULES 6006 AND 9014, AND LOCAL
       BANKRUPTCY RULE 6006-1 AUTHORIZING AND APPROVING EXPEDITED
               PROCEDURES FOR REJECTION AND ASSUMPTION OF
                EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                         AND GRANTING RELATED RELIEF

                       The above-captioned debtors and debtors in possession (collectively, “Debtors”)

 hereby move (the “Motion”) this Court for entry of an order substantially in the form attached

 hereto as Exhibit A (the “Order”), under sections 105, 365, and 554 of title 11 of the United States

 Code (the “Bankruptcy Code”), Rules 6006 and 9014 of the Federal Rules of Bankruptcy


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              Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
              number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek
              Technologies, Inc. (6402); Wireless Artist LLC (0302); WirelessDeveloper, Inc. (9686); X Plus One
              Solutions, Inc. (8106); and X Plus Two Solutions, LLC (4914). The location of Debtors’ service address
              for purposes of these chapter 11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.



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 Procedure (the “Bankruptcy Rules”), and Rule 6006-1 of the Local Bankruptcy Rules for the

 Southern District of New York (the “Local Bankruptcy Rules”), authorizing and approving

 expedited procedures for Debtors to reject or assume executory contracts and unexpired leases and

 granting related relief. In support of the Motion, Debtors, by and through their undersigned

 counsel, respectfully represent:

                                    JURISDICTION AND VENUE

                1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334 and the Amended Standing Order of Reference from the United States District Court for

 the Southern District of New York, dated February 1, 2012. Debtors confirm their consent,

 pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

 the entry of a final order by the Court in connection with this Motion to the extent that it is later

 determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

 connection herewith consistent with Article III of the United States Constitution.

                2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                3.      The legal predicates for the relief requested herein are Bankruptcy Code

 sections 105(a), 365, and 554(a), Bankruptcy Rules 6004, 6006, and 9014, and Local Bankruptcy

 Rule 6006-1.

                                         BACKGROUND

 A.      The Chapter 11 Cases

                4.      Sizmek Inc., together with its Debtor and non-Debtor affiliates, is a leading

 online advertising campaign management and distribution platform for advertisers, media

 agencies, and publishers. Debtors and their non-Debtor affiliates, who, as of March 29, 2019 (the

 “Petition Date”) had approximately 1,114 employees worldwide, assist their clients with engaging

 a broad consumer audience in 19 countries across multiple online media channels by facilitating

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 the implementation of targeted, data-driven advertising strategies that encompass all of the

 technology    and     intelligence   necessary   to   execute   effective   global   advertisement

 campaigns. Debtors are headquartered in New York, New York, with operations and assets in the

 United States and abroad. As of the Petition Date, Debtors have approximately $172 million of

 funded indebtedness.

                5.       On the Petition Date, Debtors’ non-Debtor holding company, Solomon

 Acquisition Corp., and Debtor Sizmek Inc. caused Debtors’ voluntary petitions for relief to be

 filed under the Bankruptcy Code. Debtors are operating their businesses and managing their

 properties as debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108. On

 April 3, 2019, the Court entered an order [Dkt. 29] authorizing the joint administration and

 procedural consolidation of the chapter 11 cases pursuant to Bankruptcy Rule 1015(b). No entity

 has requested the appointment of a trustee or examiner in these chapter 11 cases. On April 17,

 2019, the Office of the United States Trustee for the Southern District of New York

 (the “U.S. Trustee”) appointed an official committee of unsecured creditors in these chapter 11

 cases (the “Committee”).

                6.       Additional information regarding Debtors’ business, their capital structure,

 and the circumstances leading to these chapter 11 filings is contained in the Declaration of Sascha

 Wittler, Chief Financial Officer, of Sizmek Inc., (I) in Support of Chapter 11 Petitions and

 (II) Pursuant to Local Rule 1007-2 [Dkt. 13] and the Supplemental Declaration of Sascha Wittler,

 Chief Financial Officer of Sizmek Inc., (I) in Support of Chapter 11 Petitions and First Day

 Pleadings, and (II) Pursuant to Local Rule 1007-2, filed on April 9, 2019 [Dkt. 54] (together, the

 “First Day Declaration”).




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 B.      Debtors’ Executory Contracts and Unexpired Leases

                7.      As described in further detail below, Debtors are party to many executory

 contracts and unexpired leases (the “Contracts”). As part of their restructuring efforts, Debtors are

 evaluating whether these Contracts should be rejected as unfavorable or assumed (or assumed and

 assigned) as beneficial to their estates. Absent the relief requested in this Motion, Debtors would

 be required to file separate motions for each rejection or assumption of a Contract, resulting in

 substantial costs to, and administrative burdens on, Debtors’ estates. Accordingly, Debtors bring

 this Motion seeking the Court’s authorization and approval of the rejection and assumption

 procedures described herein.

                                       RELIEF REQUESTED

                8.      By this Motion, Debtors seek entry of an Order, pursuant to Bankruptcy

 Code sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and Local Bankruptcy Rule

 6006-1, authorizing and approving the expedited Rejection Procedures and Assumption

 Procedures (each as defined below) (collectively, the “Contract Procedures”). Debtors also

 request authority, but not direction, to remove or abandon personal property of Debtors, including,

 inter alia, equipment, fixtures, furniture, and other personal property that may be located on, or

 have been installed in, leased premises that are the subject to a rejected Contract after the effective

 date of any proposed rejection.


                9.      For the reasons set forth herein, Debtors submit that the relief requested

 herein is in the best interest of Debtors, their estates, creditors, stakeholders, and other parties in

 interest, and therefore, should be granted.




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                          PROPOSED CONTRACT PROCEDURES

 A.      Rejection Procedures

               10.     Debtors request that the following procedures (the “Rejection Procedures”)

 be approved in connection with the rejection of Contracts during the course of Debtors’ chapter

 11 cases:

               a.      Rejection Notice. Debtors will file a notice to reject any Contract (the
                       “Rejection Notice”), which notice shall be in form and substance reasonably
                       satisfactory to the Committee and the Prepetition Secured Parties (as
                       defined in the First Day Declaration), pursuant to Bankruptcy Code section
                       365, substantially in the form annexed as Exhibit 1 to the proposed order
                       attached hereto as Exhibit A, which shall set forth the following
                       information, based on the best information available to Debtors and as
                       applicable: (i) the Contract(s) that Debtors seek to reject; (ii) the Debtor or
                       Debtors party to such Contract(s); (iii) the name(s) and address(es) of the
                       counterparties to such Contract(s); (iv) the proposed effective date of the
                       rejection for each such Contract (the “Rejection Date”), which date may not
                       be before the date of service of the Rejection Notice; (v) if such Contract is
                       a lease, the personal property to be abandoned, if any, and an estimate of
                       the book value of such property; and (vi) the deadlines and procedures for
                       filing objections to the Rejection Notice, as set forth below. The Rejection
                       Notice may list multiple Contracts, provided that the number of
                       counterparties to Contracts listed on the Rejection Notice shall be limited to
                       no more than 100 absent further Court authorization.

               b.      Service of the Rejection Notice. Debtors will cause the Rejection Notice to
                       be served upon the following parties (collectively, the “Rejection Notice
                       Parties”), in the following manner: (i) by overnight delivery service, email,
                       or fax on any non-Debtor Contract counterparty affected by the Rejection
                       Notice, and (ii) by first class mail, email or fax upon (a) the Office of the
                       United States Trustee, U.S. Federal Office Building, 201 Varick Street,
                       Suite 1006, New York, NY 10014, Attn: Richard C. Morrissey
                       (richard.morrissey@usdoj.gov); (b) counsel to the Prepetition Secured
                       Lenders, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Stars,
                       39th Floor, Los Angeles, California 90067, Attn: Thomas E. Patterson &
                       David A. Fidler (tpatterson@ktbslaw.com and dfidler@ktbslaw.com);
                       (c) proposed counsel to the Committee, Cooley LLP, 55 Hudson Yards,
                       New York, NY 10001, Attn: Seth Van Aalten and Michael Klein
                       (svanaalten@cooley.com and mklein@cooley.com); and (d) to the extent
                       not listed herein, any such other party entitled to notice pursuant to Local
                       Bankruptcy Rule 9013-1(b).



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               c.      Objection Procedures. Parties objecting to a proposed rejection of a
                       Contract must file and serve a written objection so that such objection is
                       filed with this Court and is actually received by the following parties
                       (collectively, the “Objection Service Parties”) no later than fourteen (14)
                       calendar days after the date Debtors serve the relevant Rejection Notice (the
                       “Rejection Objection Deadline”): (i) counsel to Debtors, Katten Muchin
                       Rosenman LLP, 575 Madison Ave., New York, NY 10022, Attn: Steven J.
                       Reisman (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP,
                       525 W. Monroe Street, Chicago, IL 60661, Attn: Peter A. Siddiqui
                       (peter.siddiqui@kattenlaw.com); (ii) the Office of the United States
                       Trustee, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New
                       York,      NY       10014,     Attn:           Richard     C.      Morrissey
                       (richard.morrissey@usdoj.gov); (iii) counsel to the Prepetition Secured
                       Lenders, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Stars,
                       39th Floor, Los Angeles, California 90067, Attn: Thomas E. Patterson &
                       David A. Fidler (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); (iv)
                       proposed counsel to the Committee, Cooley LLP, 55 Hudson Yards, New
                       York, NY 10001, Attn: Seth Van Aalten and Michael Klein
                       (svanaalten@cooley.com and mklein@cooley.com); and (v) to the extent
                       not listed herein, any such other party entitled to notice pursuant to Local
                       Bankruptcy Rule 9013-1(b).

               d.      No Objection. If no objection to the rejection of a Contract is timely filed
                       in compliance with subparagraph (c) of this paragraph, Debtors may submit
                       to the Court a proposed order under certification of counsel (the “Rejection
                       Order”) granting such relief and including a statement confirming the
                       absence of a timely objection. Debtors shall cause the Rejection Order to
                       be served by overnight delivery service, email, or fax on any non-Debtor
                       Contract counterparty affected by the Rejection Order. Following the filing
                       of such Rejection Order, the applicable Contract shall be deemed rejected
                       as of the applicable Rejection Date set forth in the Rejection Notice, without
                       further notice, hearing, or order of this Court, unless (i) Debtors withdraw
                       such Rejection Notice on or prior to the Rejection Date or (ii) Debtors and
                       the pertinent counterparty or counterparties agree, prior to the Rejection
                       Date, upon another such date; provided, however, that the Rejection Date
                       for a rejection of a lease non-residential real property shall not be earlier
                       than the later of (a) the date the Debtors file and serve the Rejection Notice,
                       (b) the date of the Debtors’ unequivocal surrender of the leased premises
                       via the delivery of the keys, key codes, and alarm codes to the premises, as
                       applicable, to the applicable landlord, or if not by delivering such keys and
                       codes, then by providing notice, in writing, that the landlord may re-let the
                       premises; or (c) such date as agreed between the parties.

               e.      Unresolved Objections. If a timely objection is filed that cannot be
                       resolved, Debtors shall file a notice of hearing to consider the unresolved
                       objection. If such objection is overruled or withdrawn, such Contract(s)
                       shall be rejected as of the Rejection Date set forth in the Rejection Notice

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                            or such other date as Debtors and the pertinent counterparty or
                            counterparties otherwise agree.

                   f.       No Application of Security Deposits. If Debtors have deposited monies
                            with a Contract counterparty as a security deposit or other arrangement,
                            such Contract counterparty may not setoff, recoup, or otherwise use such
                            monies without further order of the Court, unless Debtors and the
                            counterparty or counterparties to such Contract(s) otherwise agree.

                   g.       Abandoned Property. Debtors are authorized, but not directed, at any time
                            on or after the applicable Rejection Date, to remove or abandon any of
                            Debtors’ personal property that may be located on Debtors’ leased premises
                            that are subject to a rejected Contract. Debtors shall generally describe the
                            abandoned personal property in the Rejection Notice. Absent a timely
                            objection, the property will be deemed abandoned pursuant to Bankruptcy
                            Code section 554, as is, effective as of the Rejection Date.3 Landlords may,
                            in their sole discretion and without further notice or order of this Court,
                            utilize and/or dispose of such abandoned property without notice or liability
                            to the Debtors or third parties and, to the extent applicable, the automatic
                            stay is modified to allow such disposition.

                   h.       Rejection Damages. Claims arising out of the rejection of Contracts, if any,
                            must be filed on or before the later of (i) thirty (30) days after the date of
                            service of the applicable Rejection Order and (ii) any applicable claims bar
                            date for filing proofs of claim established in these chapter 11 cases. If no
                            proof of claim is timely filed, such claimant shall be forever barred from
                            asserting a claim for damages arising from the rejection and from
                            participating in any distributions on such a claim that may be made in
                            connection with these chapter 11 cases.

 B.        Assumption Procedures

                    11.     In addition, Debtors request that the following procedures (the

     “Assumption Procedures”) be approved in connection with the assumption and/or the

     assumption and assignment of Contracts during the course of Debtors’ chapter 11 cases:

                   a.       Assumption Notice. Debtors will file a notice to assume any Contract (the
                            “Assumption Notice”), which notice shall be in form and substance
                            reasonably satisfactory to the Committee and the Prepetition Secured
                            Parties (as defined in the First Day Declaration), pursuant to Bankruptcy

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           If the Rejection Date specified in the Rejection Notice with respect to any Contract that is a lease of
           nonresidential real property predates the removal of any property not otherwise generally described in the
           Rejection Notice, the Rejection Date will not become effective until such date the property is removed from
           the leased premises.


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                       Code section 365, substantially in the form annexed as Exhibit 2 to the
                       proposed order attached hereto as Exhibit A, which shall set forth the
                       following information, based on the best information available to Debtors
                       and as applicable: (i) the Contract(s) to be assumed; (ii) the Debtor to
                       Debtors party to such Contract(s); (iii) the name(s) and address(es) of the
                       counterparties to such Contract(s); (iv) the identity of the proposed assignee
                       of such Contract(s) (the “Assignee”), if applicable; (v) the proposed
                       effective date of the assumption for each such Contract (the “Assumption
                       Date”), which date may not be before the date of service of the Assumption
                       Notice; (vi) the proposed cure amount, if any; and (vii) the deadlines and
                       procedures for filing objections to the Assumption Notice, as set forth
                       below.

                b.       Service of the Assumption Notice. Debtors will cause the Assumption
                         Notice to be served upon the following parties (collectively, the
                         “Assumption Notice Parties”), in the following manner: (i) by overnight
                         delivery service, email, or fax on any non-Debtor Contract counterparty
                         affected by the Assumption Notice, and (ii) by first class mail, email or
                         fax upon (a) the Office of the United States Trustee, U.S. Federal Office
                         Building, 201 Varick Street, Suite 1006, New York, NY 10014, Attn:
                         Richard C. Morrissey (richard.morrissey@usdoj.gov); (b) counsel to the
                         Prepetition Secured Lenders, Klee, Tuchin, Bogdanoff & Stern LLP, 1999
                         Avenue of the Stars, 39th Floor, Los Angeles, California 90067, Attn:
                         Thomas E. Patterson & David A. Fidler (tpatterson@ktbslaw.com and
                         dfidler@ktbslaw.com); (c) proposed counsel to the Committee, Cooley
                         LLP, 55 Hudson Yards, New York, NY 10001, Attn: Seth Van Aalten and
                         Michael Klein (svanaalten@cooley.com and mklein@cooley.com); and
                         (d) to the extent not listed herein, any such other party entitled to notice
                         pursuant to Local Bankruptcy Rule 9013-1(b).

               c.      Objection Procedures. Parties objecting to a proposed assumption or
                       assumption and assignment of a Contract, including to the proposed cure
                       amount, must file and serve a written objection so that such objection is
                       filed with the Court and is actually received by the Objection Service
                       Parties no later than fourteen (14) calendar days after the date Debtors serve
                       the relevant Assumption Notice.

               d.      No Objection. If no objection to the assumption of a Contract is timely filed
                       in compliance with subparagraph (c) of this paragraph, Debtors may submit
                       to the Court a proposed order under certification of counsel (the
                       “Assumption Order”) granting such relief and including a statement
                       confirming the absence of a timely objection. Following the filing of such
                       Assumption Order, then (i) Debtors’ proposed cure amount with respect to
                       such Contract shall be binding upon the non-debtor counterparty to the
                       Contract for all purposes in these chapter 11 cases and (ii) such Contract
                       shall be deemed assumed as of the Assumption Date set forth in the
                       Assumption Notice, unless (a) Debtors withdraw such Assumption Notice

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                           on or prior to the Assumption Date or (ii) Debtors and the pertinent
                           counterparty or counterparties agree, prior to the Assumption Date, upon
                           another such date.

                  e.       Unresolved Objections. If an objection to the assumption of any Contract
                           is timely filed and not withdrawn or resolved, Debtors shall file a notice for
                           a hearing to consider the objection for the Contract(s) to which such
                           objection relates. If such objection is overruled or withdrawn, such
                           Contract(s) shall be assumed as of the Assumption Date set forth in the
                           Assumption Notice or such other date as Debtors and the pertinent
                           counterparty or counterparties otherwise agree.

                  12.      In addition, pursuant to Bankruptcy Code sections 105(a) and 363(f),

 Debtors request that the assignment of any Contract pursuant to the Assumption Procedures: (a) be

 free and clear of (i) all liens (and any liens shall attach to the proceeds in the same order and

 priority subject to all existing defenses, claims, setoffs, and rights), and (ii) any and all claims (as

 that term is defined in Bankruptcy Code section 101(5)), obligations, demands, guarantees of or

 by Debtors, debts, rights, contractual commitments, restrictions, interests, and matters of any kind

 and nature, whether arising prior to or subsequent to the commencement of these chapter 11 cases,

 and whether imposed by agreement, understanding, law, equity, or otherwise (including, without

 limitation, claims and encumbrances (A) that purport to give to any party a right or option to effect

 any forfeiture, modification, or termination of the interest of any Debtor or Assignee, as the case

 may be, in the Contract(s), or (B) in respect of any taxes); and (b) constitutes a legal, valid, and

 effective transfer of such Contract(s) and vests the applicable Assignee with all rights, titles, and

 interests to the applicable Contract(s).4




 4
         Certain of the Contracts may contain provisions that restrict, prohibit, condition, or limit the assumption
         and/or assignment of such Contract. Debtors reserve the right to argue that such clauses are unenforceable
         as anti-assignment or ipso facto clauses under section 365 of the Bankruptcy Code.


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                                       BASIS FOR RELIEF

                13.     Debtors are parties to many Contracts related to the operation of their

 business. Debtors are in the process of evaluating these Contracts to determine those that benefit

 their estates and support Debtors’ going-forward business plan and/or potential sale transaction,

 and those that are burdensome or no longer integral to such plan and/or potential sale transaction.

 Due to the sheer volume of the Contracts, Debtors have developed the proposed Contract

 Procedures, as set forth herein, for rejecting or assuming (or assuming and assigning) Contracts

 during these chapter 11 cases. Debtors believe the proposed Contract Procedures are appropriate

 and consistent with the deferential business judgment standard, as well as the applicable notice

 requirements of the Bankruptcy Code, Bankruptcy Rules, and Local Bankruptcy Rules.

                14.     As noted above, absent the relief requested herein, Debtors would be

 required to file separate motions for each rejection or assumption of a Contract, resulting in

 substantial costs to, and administrative burdens on, Debtors’ estates, as well as on the Court’s

 docket. Accordingly, Debtors respectfully submit that approval of the Contract Procedures is

 appropriate and necessary to minimize such costs and burdens in these chapter 11 cases.

                                  APPLICABLE AUTHORITY

 A.      Bankruptcy Code Sections 365(a) and 105(a) Support Approval of the Contract
         Procedures for Debtors to Reject, Assume, and Assign Contracts in the Sound
         Exercise of their Business Judgment.

                15.     Bankruptcy Code section 365(a) provides that a debtor, “subject to the

 court’s approval, may assume or reject any executory contract or unexpired lease[.]” 11 U.S.C.

 §365(a); see also NLRB v. Bildisco & Bildisco, 465 U.S. 513, 521 (1984); Med. Malpractice Ins.

 Ass’n v. Hirsch (In re Lavigne), 114 F.3d 379, 386 (2d Cir. 1997). The Court may approve a

 debtor’s decision to assume or reject an executory contract if such decision is made in the exercise

 of the debtor’s sound business judgment. See In re Orion Pictures Corp., 4 F.3d 1095, 1099 (2d

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 Cir. 1993); Bethlehem Steel Corp. v. BP Energy Co. (In re Bethlehem Steel Corp.), 291 B.R. 260,

 264 (Bankr. S.D.N.Y. 2003) (“The purpose of section 365(a) is to allow the debtor to benefit from

 those contracts that are profitable and reject those which are unprofitable, thereby maximizing the

 value of the debtor’s estate.”); see also NLRB v. Bildisco & Bildisco (In re Bildisco), 682 F.2d 72,

 79 (3d Cir. 1982) (holding that proper test for rejection was business judgment test), aff’d, 465

 U.S. 513 (1984).

                16.     The “business judgment” test merely requires a showing that either

 assumption or rejection of the executory contract or unexpired lease will benefit the debtor’s estate.

 See In re Helm, 335 B.R. 528, 538 (Bankr. S.D.N.Y. 2006) (“To meet the business judgment test,

 the debtor in possession must ‘establish that rejection will benefit the estate.’” (internal citation

 omitted)); In re Child World, Inc., 142 B.R. 87, 89 (Bankr. S.D.N.Y. 1992). Courts generally will

 not second-guess a debtor’s business judgment concerning whether the assumption or rejection of

 an executory contract or unexpired lease would benefit the debtor’s estate. See In re Balco Equities

 Ltd., 323 B.R. 85, 98 (Bankr. S.D.N.Y. 2005) (“A court ‘should defer to a debtor’s decision that

 rejection of a contract would be advantageous unless the decision is so unreasonable that it could

 not be based on sound business judgment, but only on bad faith or whim.’” (internal citation

 omitted)); accord Phar-Mor, Inc. v. Strouss Bldg. Assocs., 204 B.R. 948, 95152 (N.D. Ohio 1997)

 (“Whether an executory contract is ‘favorable’ or ‘unfavorable’ is left to the sound business

 judgment of the debtor. Courts should generally defer to debtor’s decision whether to reject an

 executory contract.” (internal citations omitted)).

                17.     Debtors have determined, in their sound business judgment, that the

 rejection, assumption, or assumption and assignment of Contracts in accordance with the Contract

 Procedures proposed herein is and will be in the best interest of Debtors’ estates.



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                 18.     The Court may also approve the Contract Procedures under Bankruptcy

 Code section 105(a), which codifies a bankruptcy court’s inherent equitable powers and allows

 this Court to “issue any order, process, or judgment that is necessary or appropriate to carry out

 the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). Accordingly, a bankruptcy court’s

 exercise of its authority under Bankruptcy Code section 105(a) is appropriately used to carry out

 one of the central policies underlying chapter 11 – to preserve and maximize value for the benefit

 of Debtors’ estates and their stakeholders.

 B.      Bankruptcy Code Section 363(f) Authorizes Debtors to Assign Contracts Free and
         Clear of Interests.

                 19.     Section 363(f) of the Bankruptcy Code permits a debtor to sell property free

 and clear of another party’s interest in such property if: (a) applicable non-bankruptcy law permits

 such a free and clear sale; (b) the holder of the interest consents; (c) the interest is a lien and the

 sale price of the property exceeds the value of all liens on the property; (d) the interest is in bona

 fide dispute; or (e) the holder of the interest could be compelled in a legal or equitable proceeding

 to accept a monetary satisfaction of its interest. 11 U.S.C. § 363(f).

                 20.     Executory contracts and unexpired leases are property of a debtor’s estate.

 To the extent Debtors assume and assign a Contract pursuant to the Assumption Procedures, such

 assignment is tantamount to a sale of estate property, and may be transferred free and clear of the

 interests in such property held by an entity other than the estate, so long as one of the criteria under

 section 363(f) of the Bankruptcy Code is satisfied. Debtors propose that if a party in interest fails

 to timely object to an assumption and assignment consistent with the Assumption Procedures, such

 party shall be deemed to “consent” to such assumption and assignment within the meaning of

 Bankruptcy Code section 363(f)(2). If a party in interest timely objects to an assumption and

 assignment consistent with the Assumption Procedures, and such objection is not withdrawn or


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 resolved, Debtors shall file a notice for a hearing to consider the objection; if such objection is

 overruled or withdraw, the Contract(s) in question shall be assumed. The requirements of

 Bankruptcy Code section 363(f)(2) would thus be satisfied for any proposed “transfer” of a

 Contract free and clear of liens, claims, encumbrances and other interests.

                  21.      Courts in this district and others have granted similar authority. See, e.g.,

 In re SunEdison, Inc., et al., Case No. 16-10992 (SMB) (Bankr. S.D.N.Y. May 13, 2016); In re

 The Great Atl. & Pac. Tea Co., Inc., Case No. 15-23007 (RDD) (Bankr. S.D.N.Y. Feb. 29, 2016)

 (authorizing the assignment of contracts and leases free and clear of liens and claims); In re Sabine

 Oil & Gas Corp., No. 15-11835 (ALG) (Bankr. S.D.N.Y. Aug. 10, 2015) (same); In re Linens

 Holding Co., No. 08-10832 (CSS) (Bankr. D. Del. July 10, 2008) (same).5

 C.      Bankruptcy Code Section 554 Authorizes Debtors to Abandon Personal Property.

                  22.      Bankruptcy Code section 554(a) provides that, subject to Court approval, a

 debtor in possession may abandon “property of the estate that . . . is of inconsequential value and

 benefit to the estate.” 11 U.S.C. § 554(a); Adelphi Hospital Corp. v. N.Y. State Department of

 Health (In re Adelphi Hospital Corp.), 579 F.2d 726, 729 (2d Cir. 1978) (affirming order

 authorizing debtor to abandon property that would not benefit the debtor’s estate). Before

 authorizing abandonment of property, a bankruptcy court must find either (i) the property is

 burdensome to the debtor’s estate, or (ii) the property is both of inconsequential value and

 inconsequential benefit to the debtor’s estate. See, e.g., Midlantic Nat’l Bank v. N.J. Dep’t of Envtl.

 Prot., 474 U.S. 494, 509 (1986); In re Texaco, Inc., 92 B.R. 38, 44 (S.D.N.Y. 1988); In re

 Crowthers McCall Pattern, Inc., 114 B.R. 877, 882 n.7 (Bankr. S.D.N.Y. 1990).




 5
         Because of the voluminous nature of the orders cited herein, such orders have not been attached to this
         Motion. Copies of these orders are available upon request to Debtors’ counsel.


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                  23.      The personal property proposed to be abandoned in connection with any

 future rejections of real property leases would primarily consist of fixtures, furniture, and other

 office equipment which are (i) of de minimis material value or benefit to Debtors’ estates, and/or

 (ii) burdensome insofar as the costs and expenses of removal and storage of such property are

 likely to exceed the net proceeds realizable from their sale. Accordingly, with respect to Debtors’

 request for authority to abandon personal property under the Contract Procedures, Debtors submit

 that the standard set forth in Bankruptcy Code section 554(a) is satisfied.

 D.      The Contract Procedures Are Appropriate Under Applicable Bankruptcy Rules.

                  24.      As a procedural matter, Bankruptcy Rule 9014 provides, in relevant part,

 that “reasonable notice and opportunity for hearing shall be afforded the party against whom relief

 is sought.” Fed. R. Bankr. P. 9014(a).6 The notice and hearing requirements for contested matters

 under Bankruptcy Rule 9014 are satisfied if appropriate notice and an opportunity for a hearing

 are given in light of the particular circumstances. See 11 U.S.C. § 102(1)(A) (defining ‘after notice

 and a hearing’, or a similar phrase” to mean “after such notice as is appropriate under the particular

 circumstances, and such opportunity for a hearing as is appropriate in the particular

 circumstances”).

                  25.      Under Bankruptcy Rule 6006(e), a debtor may join requests for authority to

 assume or reject multiple executory contracts or unexpired leases in one omnibus motion, subject

 to Bankruptcy Rule 6006(f). See Fed. R. Bankr. P. 6006(e). Given the voluminous number of

 Contracts that Debtors will likely be seeking to reject, assume, or assume and assign, obtaining

 Court approval of each rejection, assumption, or assumption and assignment would impose



 6
         Bankruptcy Rule 9014 is made applicable to this Motion by Bankruptcy Rule 6006(a), which provides that
         “[a] proceeding to . . . reject .. . an executory contract or unexpired lease, other than as part of a plan, is
         governed by [Bankruptcy] Rule 9014.” Fed. R. Bankr. P. 6006(a).


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 unnecessary administrative burdens on Debtors and the Court, and result in costs to Debtors’

 estates that may decrease the economic benefits of rejection, assumption, or assumption and

 assignment. Therefore, Debtors propose to (i) streamline the process for rejection, assumption,

 and assumption and assignment as set forth in the Contract Procedures, consistent with applicable

 law, to minimize such costs and burdens while (ii) protecting counterparties to the Contracts by

 providing such parties with notice, an opportunity to object to the proposed rejection, assumption,

 or assumption and assignment, and a hearing for resolution of any unresolved objections.

                  26.   Furthermore, the counterparties to the Contracts will suffer no prejudice

  under the Contract Procedures. Under Bankruptcy Rule 6006(f), a motion to assume or reject

  multiple executory contracts or unexpired leases that are not between the same parties must

  (i) state in a conspicuous place that parties receiving the omnibus motion should locate their

  names and their contracts or leases listed in the motion; (ii) list parties alphabetically and identify

  the corresponding contract or lease; (iii) specify the terms, including the curing of defaults, for

  each requested assumption or assignment; (iv) specify the terms, including the identity of each

  assignee and the adequate assurance of future performance by each assignee, for each requested

  assignment; (v) be numbered consecutively with other omnibus motions to assume, assign, or

  reject executory contracts or unexpired leases; and (vi) be limited to no more than 100 executory

  contracts or unexpired leases. Fed. R. Bankr. P. 6006(f). The purpose of Bankruptcy Rule

  6006(f), as amended, is to protect the due process rights of counterparties to the Contracts, as

  counterparties must be able to locate their Contracts and readily determine whether their

  Contracts are being assumed or rejected.           Debtors’ Contract Procedures, including the

  information provided on the Rejection Notices and Assumption Notices, comply with all




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     applicable requirements of Bankruptcy Rule 6006(f) and are reasonable and fair to Contract

     counterparties.

                   27.      Finally, Bankruptcy Code section 105 provides, in relevant part, that “[t]he

 Court may issue any order, process, or judgment that is necessary or appropriate to carry out the

 provisions of this title.” 11 U.S.C. § 105(a). Debtors submit that the implementation of the

 Contract Procedures is appropriate in these chapter 11 cases and is well within the Court’s

 equitable powers under Bankruptcy Code section 105.

                   28.      Courts in this district have granted similar relief in other chapter 11 cases.

 See, e.g., In re The Great Atl. & Pac. Tea Co., Inc., Case No. 15-23007 (RDD) (Bankr. S.D.N.Y.

 Feb. 29, 2016); In re Sabine Oil & Gas Corp., Case No. 15-11835 (SCC) (Bankr. S.D.N.Y. Aug.

 10, 2015); In re dELiA*s, Inc., Case No. 14-23678 (RDD) (Bankr. S.D.N.Y. Jan. 9, 2015); In re

 Sound Shore Med. Ctr. of Westchester, Case No. 13-22840 (RDD) (Bankr. S.D.N.Y. Dec. 12,

 2013); In re Residential Capital, LLC, Case No. 12-12020 (MG) (Bankr. S.D.N.Y. Jan. 3, 2013);

 In re Hawker Beechcraft, Inc., Case No. 12-11873 (SMB) (Bankr. S.D.N.Y. May 30, 2012); In re

 Borders Grp., Inc., Case No. 11-10614 (MG) (Bankr. S.D.N.Y. June 2, 2011); In re NR

 Liquidation III Co. f/k/a Neff Corp., Case No. 10-12610 (SCC) (Bankr. S.D.N.Y. June 9, 2010).7

                   29.      For the reasons set forth above, Debtors submit that the Contract Procedures

 are appropriate and should be approved and implemented in these chapter 11 cases, as the relief

 requested herein is in the best interest of Debtors, their estates, creditors, stakeholders, and other

 parties in interest.




 7
           Because of the voluminous nature of the orders cited herein, they are not attached to the Motion. Copies of
           these orders, however, are available upon request.


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                 WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(h)

                 30.     Debtors also request that the Court waive the stay imposed by Bankruptcy

 Rule 6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property other

 than cash collateral is stayed until the expiration of 14 days after entry of the order, unless the court

 orders otherwise.” Fed. R. Bankr. P. 6004(h). As described above, the relief that Debtors seek in

 this Motion is necessary for Debtors to operate without interruption and to preserve value for their

 estates. Accordingly, Debtors respectfully request that the Court waive the fourteen day stay

 imposed by Bankruptcy Rule 6004(h), as the exigent nature of the relief sought herein justifies

 immediate relief.

                                   RESERVATION OF RIGHTS

                 31.     Nothing contained herein is or should be construed as: (a) an admission as

 to the validity of any claim against Debtors; (b) a waiver of Debtors’ rights to dispute any claim

 on any grounds; (c) a promise to pay any claim; (d) an assumption or rejection of any executory

 contract or unexpired lease pursuant to Bankruptcy Code section 365; or (e) otherwise affect

 Debtors’ rights under Bankruptcy Code section 365 to assume or reject any executory contract

 with any party subject to this Motion.

                                                NOTICE

                 32.     Debtors will provide notice of this Motion as required under the Order

 Establishing Certain Notice, Case Management, and Administrative Procedures [Dkt. 103],

 entered by this Court on April 23, 2019 (the “Case Management Procedures Order”).

                                        NO PRIOR REQUEST

                 33.     No previous request for the relief sought herein has been made to this Court

 or any other court.




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                                          CONCLUSION

                WHEREFORE, Debtors respectfully request that the Court enter an Order,

 substantially in the form annexed hereto, granting the relief requested in the Motion and such other

 and further relief as may be just and proper.


 Dated: May 2, 2019                    /s/ Steven J. Reisman
 New York, New York                    KATTEN MUCHIN ROSENMAN LLP
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                                       Jerry L. Hall, Esq. (admitted pro hac vice)
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                                       Telephone: (212) 940-8800
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                                       Email:     sreisman@kattenlaw.com
                                                  jerry.hall@kattenlaw.com
                                                   cindi.giglio@kattenlaw.com

                                       -and-

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                                       525 W. Monroe Street
                                       Chicago, IL 60661
                                       Telephone: (312) 902-5455
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                                       Counsel to Debtors and Debtors-in-Possession




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                                    Exhibit A
                                 Proposed Order




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 Counsel to Debtors and Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                    )
     In re:                                                         )        Chapter 11
                                                                    )
     SIZMEK INC., et al.,1                                          )        Case No. 19-10971 (SMB)
                                                                    )
                                           Debtors.                 )        (Jointly Administered)
                                                                    )

          ORDER GRANTING DEBTORS’ MOTION FOR ORDER PURSUANT TO
       BANKRUPTCY CODE SECTIONS 105, 365, AND 554, BANKRUPTCY RULES 6006
         AND 9014, AND LOCAL BANKRUPTCY RULE 6006-1 AUTHORIZING AND
      APPROVING EXPEDITED PROCEDURES FOR REJECTION OR ASSUMPTION OF
              EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND
                           GRANTING RELATED RELIEF

                       Upon the motion (the “Motion”)2 of Debtors for an order, pursuant to sections 105,

 365, and 554 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 6006 and 9014

 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 6006-1 of the

 Local Bankruptcy Rules for the Southern District of New York (the “Local Bankruptcy Rules”),


 1
              Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
              number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek
              Technologies, Inc. (6402); Wireless Artist LLC (0302); WirelessDeveloper, Inc. (9686); X Plus One
              Solutions, Inc. (8106); and X Plus Two Solutions, LLC (4914). The location of Debtors’ service address
              for purposes of these chapter 11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2
              Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the
              Motion.



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 authorizing and approving procedures (the “Contract Procedures”) for Debtors to reject or assume

 executory contracts and unexpired leases (the “Contracts”) and granting related relief; and due and

 sufficient notice of the Motion having been given under the particular circumstances; and it

 appearing that no other or further notice need be provided; and it appearing that the relief requested

 by the Motion is in the best interests of Debtors, their estates, their creditors, their stakeholders,

 and other parties in interest; and after due deliberation thereon, and sufficient cause appearing

 therefor, it is hereby

                           ORDERED, ADJUDGED AND DECREED that:

       1.        The Motion is GRANTED as set forth herein.

       2.        Debtors are authorized to implement the following approved procedures (the

 “Rejection Procedures”) in connection with the rejection of any Contract of Debtors during these

 chapter 11 cases:

                 a.       Rejection Notice. Debtors will file a notice to reject any Contract (the
                          “Rejection Notice”), which notice shall be in form and substance reasonably
                          satisfactory to the Committee and the Prepetition Secured Parties (as
                          defined in the First Day Declaration), pursuant to Bankruptcy Code section
                          365, substantially in the form attached hereto as Exhibit 1, which shall set
                          forth the following information, based on the best information available to
                          Debtors and as applicable: (i) the Contract(s) that Debtors seek to reject;
                          (ii) the Debtor or Debtors party to such Contract(s); (iii) the name(s) and
                          address(es) of the counterparties to such Contract(s); (iv) the proposed
                          effective date of the rejection for each such Contract (the “Rejection Date”),
                          which date may not be before the date of service of the Rejection Notice;
                          (v) if such Contract is a lease, the personal property to be abandoned, if any,
                          and an estimate of the book value of such property; and (vi) the deadlines
                          and procedures for filing objections to the Rejection Notice, as set forth
                          below. The Rejection Notice may list multiple Contracts, provided that the
                          number of counterparties to Contracts listed on the Rejection Notice shall
                          be limited to no more than 100 absent further Court authorization.

                 b.       Service of the Rejection Notice. Debtors will cause the Rejection Notice to
                          be served upon the following parties (collectively, the “Rejection Notice
                          Parties”), in the following manner: (i) by overnight delivery service, email,
                          or fax on any non-Debtor Contract counterparty affected by the Rejection
                          Notice, and (ii) by first class mail, email or fax upon (a) the Office of the

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                       United States Trustee, U.S. Federal Office Building, 201 Varick Street,
                       Suite 1006, New York, NY 10014, Attn: Richard C. Morrissey
                       (richard.morrissey@usdoj.gov); (b) counsel to the Prepetition Secured
                       Lenders, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Stars,
                       39th Floor, Los Angeles, California 90067, Attn: Thomas E. Patterson &
                       David A. Fidler (tpatterson@ktbslaw.com and dfidler@ktbslaw.com);
                       (c) proposed counsel to the Committee, Cooley LLP, 55 Hudson Yards,
                       New York, NY 10001, Attn: Seth Van Aalten and Michael Klein
                       (svanaalten@cooley.com and mklein@cooley.com); and (d) to the extent
                       not listed herein, any such other party entitled to notice pursuant to Local
                       Bankruptcy Rule 9013-1(b).

               c.      Objection Procedures. Parties objecting to a proposed rejection of a
                       Contract must file and serve a written objection so that such objection is
                       filed with this Court and is actually received by the following parties
                       (collectively, the “Objection Service Parties”) no later than fourteen (14)
                       calendar days after the date Debtors serve the relevant Rejection Notice (the
                       “Rejection Objection Deadline”): (i) counsel to Debtors, Katten Muchin
                       Rosenman LLP, 575 Madison Ave., New York, NY 10022, Attn: Steven J.
                       Reisman (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP,
                       525 W. Monroe Street, Chicago, IL 60661, Attn: Peter A. Siddiqui
                       (peter.siddiqui@kattenlaw.com); (ii) the Office of the United States
                       Trustee, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New
                       York,      NY       10014,     Attn:           Richard     C.      Morrissey
                       (richard.morrissey@usdoj.gov); (iii) counsel to the Prepetition Secured
                       Lenders, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Stars,
                       39th Floor, Los Angeles, California 90067, Attn: Thomas E. Patterson &
                       David A. Fidler (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); (iv)
                       proposed counsel to the Committee, Cooley LLP, 55 Hudson Yards, New
                       York, NY 10001, Attn: Seth Van Aalten and Michael Klein
                       (svanaalten@cooley.com and mklein@cooley.com); and (v) to the extent
                       not listed herein, any such other party entitled to notice pursuant to Local
                       Bankruptcy Rule 9013-1(b).

               d.      No Objection. If no objection to the rejection of a Contract is timely filed
                       in compliance with subparagraph (c) of this paragraph, Debtors may submit
                       to the Court a proposed order under certification of counsel (the “Rejection
                       Order”) granting such relief and including a statement confirming the
                       absence of a timely objection. Debtors shall cause the Rejection Order to
                       be served by overnight delivery service, email, or fax on any non-Debtor
                       Contract counterparty affected by the Rejection Order. Following the filing
                       of such Rejection Order, the applicable Contract shall be deemed rejected
                       as of the applicable Rejection Date set forth in the Rejection Notice, without
                       further notice, hearing, or order of this Court, unless (i) Debtors withdraw
                       such Rejection Notice on or prior to the Rejection Date or (ii) Debtors and
                       the pertinent counterparty or counterparties agree, prior to the Rejection
                       Date, upon another such date; provided, however, that the Rejection Date

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                          for a rejection of a lease non-residential real property shall not be earlier
                          than the later of (a) the date the Debtors file and serve the Rejection Notice,
                          (b) the date of the Debtors’ unequivocal surrender of the leased premises
                          via the delivery of the keys, key codes, and alarm codes to the premises, as
                          applicable, to the applicable landlord, or if not by delivering such keys and
                          codes, then by providing notice, in writing, that the landlord may re-let the
                          premises; or (c) such date as agreed between the parties.

                 e.       Unresolved Objections. If a timely objection is filed that cannot be
                          resolved, Debtors shall file a notice of hearing to consider the unresolved
                          objection. If such objection is overruled or withdrawn, such Contract(s)
                          shall be rejected as of the Rejection Date set forth in the Rejection Notice
                          or such other date as Debtors and the pertinent counterparty or
                          counterparties otherwise agree.

                 f.       No Application of Security Deposits. If Debtors have deposited monies
                          with a Contract counterparty as a security deposit or other arrangement,
                          such Contract counterparty may not setoff, recoup, or otherwise use such
                          monies without further order of the Court, unless Debtors and the
                          counterparty or counterparties to such Contract(s) otherwise agree.

                 g.       Abandoned Property. Debtors are authorized, but not directed, at any time
                          on or after the applicable Rejection Date, to remove or abandon any of
                          Debtors’ personal property that may be located on Debtors’ leased premises
                          that are subject to a rejected Contract. Debtors shall generally describe the
                          abandoned personal property in the Rejection Notice. Absent a timely
                          objection, the property will be deemed abandoned pursuant to Bankruptcy
                          Code section 554, as is, effective as of the Rejection Date.3 Landlords may,
                          in their sole discretion and without further notice or order of this Court,
                          utilize and/or dispose of such abandoned property without notice or liability
                          to the Debtors or third parties and, to the extent applicable, the automatic
                          stay is modified to allow such disposition.

                 h.       Rejection Damages. Claims arising out of the rejection of Contracts, if any,
                          must be filed on or before the later of (i) thirty (30) days after the date of
                          service of the applicable Rejection Order and (ii) any applicable claims bar
                          date for filing proofs of claim established in these chapter 11 cases. If no
                          proof of claim is timely filed, such claimant shall be forever barred from
                          asserting a claim for damages arising from the rejection and from
                          participating in any distributions on such a claim that may be made in
                          connection with these chapter 11 cases.


 3
         If the Rejection Date specified in the Rejection Notice with respect to any Contract that is a lease of
         nonresidential real property predates the removal of any property not otherwise generally described in the
         Rejection Notice, the Rejection Date will not become effective until such date the property is removed from
         the leased premises.


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       3.      Debtors are authorized to implement the following approved procedures (the

 “Assumption Procedures”) in connection with the assumption and/or the assumption and

 assignment of Contracts during the course of Debtors’ chapter 11 cases:

               a.      Assumption Notice. Debtors will file a notice to assume any Contract (the
                       “Assumption Notice”), which notice shall be in form and substance
                       reasonably satisfactory to the Committee and the Prepetition Secured
                       Parties (as defined in the First Day Declaration), pursuant to Bankruptcy
                       Code section 365, substantially in the form attached hereto as Exhibit 2,
                       which shall set forth the following information, based on the best
                       information available to Debtors and as applicable: (i) the Contract(s) to be
                       assumed; (ii) the Debtor or Debtors party to such Contract(s); (iii) the
                       name(s) and address(es) of the counterparties to such Contract(s); (iv) the
                       identity of the proposed assignee of such Contract(s) (the “Assignee”), if
                       applicable; (v) the proposed effective date of the assumption for each such
                       Contract (the “Assumption Date”), which date may not be before the date
                       of service of the Assumption Notice; (vi) the proposed cure amount, if any;
                       and (vii) the deadlines and procedures for filing objections to the
                       Assumption Notice, as set forth below.

                 b.      Service of the Assumption Notice. Debtors will cause the Assumption
                         Notice to be served upon the following parties (collectively, the
                         “Assumption Notice Parties”), in the following manner: (i) by overnight
                         delivery service, email, or fax on any non-Debtor Contract counterparty
                         affected by the Assumption Notice, and (ii) by first class mail, email or
                         fax upon (a) the Office of the United States Trustee, U.S. Federal Office
                         Building, 201 Varick Street, Suite 1006, New York, NY 10014, Attn:
                         Richard C. Morrissey (richard.morrissey@usdoj.gov); (b) counsel to the
                         Prepetition Secured Lenders, Klee, Tuchin, Bogdanoff & Stern LLP, 1999
                         Avenue of the Stars, 39th Floor, Los Angeles, California 90067, Attn:
                         Thomas E. Patterson & David A. Fidler (tpatterson@ktbslaw.com and
                         dfidler@ktbslaw.com); (c) proposed counsel to the Committee, Cooley
                         LLP, 55 Hudson Yards, New York, NY 10001, Attn: Seth Van Aalten and
                         Michael Klein (svanaalten@cooley.com and mklein@cooley.com); and
                         (d) to the extent not listed herein, any such other party entitled to notice
                         pursuant to Local Bankruptcy Rule 9013-1(b).

               c.      Objection Procedures. Parties objecting to a proposed assumption or
                       assumption and assignment of a Contract, including to the proposed cure
                       amount, must file and serve a written objection so that such objection is
                       filed with the Court and is actually received by the Objection Service
                       Parties no later than fourteen (14) calendar days after the date Debtors serve
                       the relevant Assumption Notice.



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                d.      No Objection. If no objection to the assumption of a Contract is timely filed
                        in compliance with subparagraph (c) of this paragraph, Debtors may submit
                        to the Court a proposed order under certification of counsel (the
                        “Assumption Order”) granting such relief and including a statement
                        confirming the absence of a timely objection. Following the filing of such
                        Assumption Order, then (i) Debtors’ proposed cure amount with respect to
                        such Contract shall be binding upon the non-debtor counterparty to the
                        Contract for all purposes in these chapter 11 cases and (ii) such Contract
                        shall be deemed assumed as of the Assumption Date set forth in the
                        Assumption Notice, unless (a) Debtors withdraw such Assumption Notice
                        on or prior to the Assumption Date or (ii) Debtors and the pertinent
                        counterparty or counterparties agree, prior to the Assumption Date, upon
                        another such date.

                e.      Unresolved Objections. If an objection to the assumption of any Contract
                        is timely filed and not withdrawn or resolved, Debtors shall file a notice for
                        a hearing to consider the objection for the Contract(s) to which such
                        objection relates. If such objection is overruled or withdrawn, such
                        Contract(s) shall be assumed as of the Assumption Date set forth in the
                        Assumption Notice or such other date as Debtors and the pertinent
                        counterparty or counterparties otherwise agree.

       4.       With regard to Contracts to be assigned, pursuant to Bankruptcy Code section

 363(f), the assignment of any Contract shall: (a) be free and clear of (i) all liens (and any liens

 shall attach to the proceeds in the same order and priority subject to all existing defenses, claims,

 setoffs, and rights) held by the Prepetition Secured Parties (as defined in the First Day Declaration)

 and (ii) any and all claims (as that term is defined in Bankruptcy Code section 101(5)), obligations,

 demands, guarantees of or by Debtors, debts, rights, contractual commitments, restrictions,

 interests, and matters of any kind and nature that are held by Prepetition Secured Parties, whether

 arising prior to or subsequent to the commencement of these chapter 11 cases, and whether

 imposed by agreement, understanding, law, equity, or otherwise (including, without limitation,

 claims, and encumbrances (A) that purport to give to any Prepetition Secured Party a right or

 option to effect any forfeiture, modification, or termination of the interest of any Debtor or

 Assignee, as the case may be, in the Contract(s), or (B) in respect of any taxes); and (b) constitutes



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 a legal, valid, and effective transfer of such Contract(s) and vests the applicable Assignee with all

 rights, titles, and interests to the applicable Contract(s).

       5.        Subject to and conditioned upon the occurrence of a closing with respect to the

 assumption and assignment of any Contract, and subject to the other provisions of this Order

 (including the aforementioned Assumption Procedures), and upon notice to the Prepetition

 Secured Parties and the Committee and an opportunity to object thereto, Debtors are hereby

 authorized in accordance with Bankruptcy Code sections 365(b) and (f) to (a) assume and assign

 to any Assignees the applicable Contract(s), with any applicable Assignee being responsible only

 for the post-closing liabilities under the applicable Contract(s) except as otherwise provided for in

 this Order and (b) execute and deliver to any applicable Assignee such assignment documents as

 may be reasonably necessary to sell, assign and transfer such Contract(s).

       6.        Debtors’ right to assert that any provisions in a Contract that expressly or

 effectively restrict, prohibit, condition or limit the assignment of or the effectiveness of the

 Contract are unenforceable anti-assignment or ipso facto clauses is fully reserved.

       7.        An Assignee shall have no liability or obligation with respect to defaults relating to

 the assigned Contracts arising, accruing, or relating to a period prior to the applicable closing date,

 except to the extent otherwise agreed upon by Debtors and such Assignee.

       8.        Debtors are hereby authorized, pursuant to Bankruptcy Code section 363(b), to

 enter into any consensual amendments to assumed Contracts set forth in an Assumption Notice.

       9.        Debtors are authorized to take all actions necessary to effectuate the relief granted

 pursuant to this Order in accordance with the Motion, the Rejection Notice and the Assumption

 Notice.




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      10.       The 14-day stay required of any assignment of any Contract pursuant to Bankruptcy

 Rule 6006(d) is hereby waived.

      11.       The Rejection Procedures shall govern the rejection of Contracts and the

 Assumption Procedures shall govern the assumption (or assumption and assignment) of Contracts

 in these chapter 11 cases, except to the extent Debtors and a counterparty or counterparties to a

 Contract have agreed otherwise in writing and the Prepetition Secured Parties and the Committee

 have received notice and an opportunity to object to such alternative agreement, in which case the

 terms of such alternative agreement shall govern the rejection or assumption of the Contract, as

 applicable, with respect to such counterparty or counterparties.

      12.       Nothing in the Motion or this Order shall be deemed or construed as: (a) an

 admission as to the validity, amount, or priority of any particular claim against Debtors; (b) a

 waiver of Debtors’ rights to dispute any particular claim on any grounds; (c) a promise to pay any

 particular claim; (d) an assumption or rejection of any executory contract or unexpired lease

 pursuant to Bankruptcy Code section 365; (e) an implication or admission that any particular claim

 is of a type specified or defined in the Motion; (f) an admission by Debtors that a Contract is

 executory or unexpired, as applicable; or (g) a waiver or limitation of Debtors’ rights under the

 Bankruptcy Code or any other applicable law.

      13.       All rights and defenses of Debtors with respect to any Contract are preserved,

 including all rights and defenses of Debtors with respect to any subsequently filed proof of claim

 for damages arising as a result of a Contract rejection, including, but not limited to, any right of

 Debtors to assert an offset, recoupment, counterclaim, or deduction. In addition, nothing in this

 Order or the Motion shall limit Debtors’ ability to subsequently assert that any particular Contract

 is terminated and/or is not an executory contract or unexpired lease, respectively.



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      14.        Notwithstanding the approval of the Contract Procedures, nothing contained in this

 Order shall prevent Debtors from seeking to reject or assume any Contract or Contracts by separate

 motion.

      15.        Notwithstanding anything to the contrary contained in this Order or in the Motion,

 any payment, obligation or other relief authorized by this Order shall be subject to and limited by

 the requirements imposed on Debtors under the terms of any interim or final orders regarding the

 use of cash collateral (any such order, a “Cash Collateral Order”) or any budget in connection

 therewith, approved by the Court in these chapter 11 cases. In the event of any conflict between

 the terms of this Order and the Cash Collateral Order, the terms of the Cash Collateral Order shall

 control (solely to the extent of such conflict).

      16.        Notwithstanding Bankruptcy Rule 6004(h), this Order shall be effective and

 enforceable immediately upon entry hereof.

      17.        The requirements set forth in Local Bankruptcy Rule 9013-1(b) are satisfied by the

 contents of the Motion.

      18.        Debtors are authorized and empowered to take all actions necessary to implement

 the relief granted in this Order.

      19.        This Court shall retain jurisdiction with respect to all matters arising from or related

 to the implementation or interpretation of this Order.


  New York, NY
  Dated: May ___, 2019

                                                    THE HONORABLE STUART M. BERNSTEIN
                                                    UNITED STATES BANKRUPTCY JUDGE




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                                     EXHIBIT 1

                                Form Rejection Notice




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     Steven J. Reisman, Esq.                                          Peter A. Siddiqui, Esq. (admitted pro hac vice)
     Jerry L. Hall, Esq. (admitted pro hac vice)                      KATTEN MUCHIN ROSENMAN LLP
     Cindi Giglio, Esq.                                               525 W. Monroe Street
     KATTEN MUCHIN ROSENMAN LLP                                       Chicago, IL 60661
     575 Madison Avenue                                               Telephone:      (312) 902-5455
     New York, NY 10022                                               Facsimile:      (312) 902-1061
     Telephone:       (212) 940-8800                                  peter.siddiqui@kattenlaw.com
     Facsimile:       (212) 940-8876
     sreisman@kattenlaw.com
     jerry.hall@kattenlaw.com
     cindi.giglio@kattenlaw.com


     Counsel to Debtors and Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                      )
     In re:                                                           )        Chapter 11
                                                                      )
     SIZMEK INC., et al.,1                                            )        Case No. 19-10971 (SMB)
                                                                      )
                                           Debtors.                   )        (Jointly Administered)
                                                                      )

              NOTICE OF REJECTION OF [A] CERTAIN EXECUTORY CONTRACT[S]
                             [AND/OR UNEXPIRED LEASE[S]]

                       PLEASE TAKE NOTICE that, on [                                          ], 2019, the United States

 Bankruptcy Court for the Southern District of New York (the “Court”) entered the order [Docket

 No.          ] (the “Order”) granting the motion (the “Motion”)2 of Debtors for an order, pursuant to

 Bankruptcy Code sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and Local

 Bankruptcy Rule 6006-1, authorizing and approving, among other things, procedures for Debtors

 to reject executory contracts and unexpired leases (each a “Contract”).


 1
              Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
              number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek
              Technologies, Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One
              Solutions, Inc. and (8106); X Plus Two Solutions, LLC (4914). The location of Debtors’ service address
              for purposes of these chapter 11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2
              Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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                PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order

 and by this written notice (this “Rejection Notice”), Debtors hereby notify you that they have

 determined, in the exercise of their business judgment, that each Contract set forth on Schedule 1

 attached hereto is hereby rejected effective as of the date (the “Rejection Date”) set forth in

 Schedule 1, or such other date as Debtors and the counterparty or counterparties to such

 Contract(s) agree.

                PLEASE TAKE FURTHER NOTICE that, parties seeking to object to Debtors’

 rejection of any Contract listed in Schedule 1 must file and serve a written objection, so that such

 objection is filed with the Court and is actually received no later than fourteen (14) calendar days

 after the date that Debtors served this Rejection Notice, upon the following parties: (i) counsel to

 Debtors, Katten Muchin Rosenman LLP, 575 Madison Ave., New York, NY 10022, Attn: Steven

 J. Reisman (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP, 525 W. Monroe

 Street, Chicago, IL 60661, Attn: Peter A. Siddiqui (peter.siddiqui@kattenlaw.com); (ii) the Office

 of the United States Trustee, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New

 York, NY 10014, Attn: Richard C. Morrissey (richard.morrissey@usdoj.gov); (iii) counsel to the

 Prepetition Secured Parties, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Americas,

 39th Floor, Los Angeles, CA 90067, Attn: Thomas El Patterson and David A. Filder

 (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); (iv) proposed counsel to the Committee,

 Cooley LLP, 55 Hudson Yards, New York, NY 10001, Attn: Seth Van Aalten and Michael Klein

 (svanaalten@cooley.com and mklein@cooley.com); and (v) to the extent not listed herein, any

 such other party entitled to notice pursuant to Local Bankruptcy Rule 9013-1(b).

                PLEASE TAKE FURTHER NOTICE that, absent an objection being timely

 filed, the rejection of any Contract listed on Schedule 1 shall become effective on the Rejection



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 Date set forth in Schedule 1 without further notice, hearing or order of this Court, unless (i)

 Debtors withdraw such Rejection Notice on or prior to the Rejection Date or (ii) Debtors and the

 pertinent counterparty or counterparties agree, prior to the Rejection Date, upon another such date.3

                  PLEASE TAKE FURTHER NOTICE that, if a timely objection to the rejection

 of any Contract listed on Schedule 1 is timely filed and not withdrawn or resolved, Debtors shall

 file a notice of hearing to consider the unresolved objection. If such objection is overruled or

 withdrawn, Debtors will file with the Court a proposed order under certification of counsel (the

 “Rejection Order”) confirming the              absence of a timely objection and the rejection of the

 Contract(s), and such Contract(s) shall be deemed rejected as of the Rejection Date set forth in

 Schedule 1 or such other date as Debtors and the counterparty or counterparties to such Contract(s)

 agree.

                  PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order, if

 Debtors have deposited monies with a Contract counterparty as a security deposit or other

 arrangement, the Contract counterparty may not set off or recoup or otherwise use such monies

 without further order of the Court, unless Debtors and the counterparty or counterparties to such

 Contract(s) otherwise agree.

                  PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

 property of Debtors that is listed and described in Schedule 1 shall be deemed abandoned as of

 the Rejection Date set forth on Schedule 1.




 3
     An objection to the rejection of any particular Contract listed in Schedule 1 to this Rejection Notice shall not
     constitute an objection to the rejection of any other Contract listed in Schedule 1. Any objection to the rejection
     of any particular Contract must state with specificity the Contract to which it is directed. For each particular
     Contract whose rejection is not timely or properly objected to, such rejection will be effective in accordance
     with this Rejection Notice and the Order


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                 PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert any

 claim(s) arising out of the rejection of your Contract(s) listed on Schedule 1, you must do so before

 the later of (i) thirty (30) days after the date of service of the Rejection Order and (ii) any applicable

 claims bar date for filing proofs of claim established in these chapter 11 cases. FAILURE TO

 TIMELY FILE ANY PROOF OF CLAIM SHALL RESULT IN SUCH CLAIM BEING

 FOREVER BARRED.



 Dated: May _____, 2019                  /s/
 New York, New York                      KATTEN MUCHIN ROSENMAN LLP
                                         Steven J. Reisman, Esq.
                                         Jerry L. Hall, Esq. (admitted pro hac vice)
                                         Cindi M. Giglio, Esq.
                                         575 Madison Avenue
                                         New York, NY 10022
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                                         Email:     sreisman@kattenlaw.com
                                                    jerry.hall@kattenlaw.com
                                                     cindi.giglio@kattenlaw.com

                                         -and-

                                         Peter A. Siddiqui, Esq. (admitted pro hac vice)
                                         KATTEN MUCHIN ROSENMAN LLP
                                         525 W. Monroe Street
                                         Chicago, IL 60661
                                         Telephone: (312) 902-5455
                                         Email:      peter.siddiqui@kattenlaw.com

                                         Counsel to Debtors and Debtors-in-Possession




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                                    SCHEDULE 1

                                  Rejected Contracts

   Debtors(s)     Counterparty   Counterparty   Description of   Abandoned   Rejection
    Party to                       Address        Contract        Personal     Date
   Contract                                                       Property




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 Steven J. Reisman, Esq.                                             Peter A. Siddiqui, Esq. (admitted pro hac vice)
 Jerry L. Hall, Esq. (admitted pro hac vice)                         KATTEN MUCHIN ROSENMAN LLP
 Cindi Giglio, Esq.                                                  525 W. Monroe Street
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 575 Madison Avenue                                                  Telephone:      (312) 902-5455
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 Telephone:       (212) 940-8800                                     peter.siddiqui@kattenlaw.com
 Facsimile:       (212) 940-8876
 sreisman@kattenlaw.com
 jerry.hall@kattenlaw.com
 cindi.giglio@kattenlaw.com


 Counsel to Debtors and Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                    )
     In re:                                                         )        Chapter 11
                                                                    )
     SIZMEK INC., et al.,1                                          )        Case No. 19-10971 (SMB)
                                                                    )
                                           Debtors.                 )        (Jointly Administered)
                                                                    )


              NOTICE OF ASSUMPTION OF [A] CERTAIN EXECUTORY CONTRACT[S]
                             [AND/OR UNEXPIRED LEASE[S]]

              PLEASE TAKE NOTICE that, on [                                    ], 2019, the United States Bankruptcy

 Court for the Southern District of New York (the “Court”) entered the order [Docket No. ]                              (the

 “Order”) granting the motion (the “Motion”)2 of Debtors for an order, pursuant to Bankruptcy

 Code sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and Local Bankruptcy




 1
              Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
              number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek
              Technologies, Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One
              Solutions, Inc. and (8106); X Plus Two Solutions, LLC (4914). The location of Debtors’ service address
              for purposes of these chapter 11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2
              Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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 Rule 6006-1, authorizing and approving, among other things, procedures for Debtors to assume

 executory contracts and unexpired leases (each a “Contract”).

            PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order and by

 this written notice (this “Assumption Notice”), Debtors hereby notify you that they have

 determined, in the exercise of their business judgment, that each Contract set forth on Schedule 1

 attached hereto is hereby assumed or assumed and assigned effective as of the date (the

 “Assumption Date”) set forth on Schedule 1, or such other date as Debtors and the counterparty

 or counterparties to such Contract(s) agree.

            PLEASE TAKE FURTHER NOTICE that, [Debtor/Assignee], has the financial

 wherewithal to meet all future obligations under the Contract, which may be evidenced upon

 written request to the counterparty to the Contract, thereby demonstrating that [Debtor/Assignee]

 has the ability to comply with the requirements of adequate assurance of future performance.3

            PLEASE TAKE FURTHER NOTICE that, Debtors’ records reflect the amounts owing,

 if any, for prepetition arrearages as set forth in Schedule 1 (the “Cure Amount”).

            PLEASE TAKE FURTHER NOTICE that, parties seeking to object to Debtors’

 assumption of any Contract listed in Schedule 1 must file and serve a written objection, so that

 such objection is filed with the Court and is actually received no later than fourteen (14) calendar

 days after the date that Debtors served this Assumption Notice, upon the following parties: (i)

 counsel to Debtors, Katten Muchin Rosenman LLP, 575 Madison Ave., New York, NY 10022,

 Attn: Steven J. Reisman (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP, 525 W.

 Monroe Street, Chicago, IL 60661, Attn: Peter A. Siddiqui (peter.siddiqui@kattenlaw.com); (ii)




 3
     Debtors shall serve a counterparty to such Contract to be assumed under the Contract Procedures with evidence of
            adequate assurance upon such counterparty’s written request to Debtors’ counsel.


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 the Office of the United States Trustee, U.S. Federal Office Building, 201 Varick Street, Suite

 1006, New York, NY 10014, Attn: Richard C. Morrissey (richard.morrissey@usdoj.gov); (iii)

 counsel to the Prepetition Secured Parties, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue

 of the Americas, 39th Floor, Los Angeles, CA 90067, Attn: Thomas El Patterson and David A.

 Filder (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); (iv) proposed counsel to the

 Committee, Cooley LLP, 55 Hudson Yards, New York, NY 10001, Attn: Seth Van Aalten and

 Michael Klein (svanaalten@cooley.com and mklein@cooley.com); (v) to the extent not listed

 herein, any such other party entitled to notice pursuant to Local Bankruptcy Rule 9013-1(b).

          PLEASE TAKE FURTHER NOTICE that, absent an objection being untimely filed, the

 assumption of any Contract listed on Schedule 1 shall become effective on the Assumption Date

 set forth in Schedule 1 without further notice, hearing or order of this Court, unless (i) Debtors

 withdraw such Assumption Notice on or prior to the Assumption Date or (ii) Debtors and the

 pertinent counterparty or counterparties agree, prior to the Assumption Date, upon another such

 date.4

                [Remainder of Page Intentionally Left Blank; Signature Page Follows.]




 4
          An objection to the assumption of any particular Contract listed in Schedule 1 to this Assumption Notice
          shall not constitute an objection to the assumption of any other Contract listed in Schedule 1. Any
          objection to the assumption of any particular Contract must state with specificity the Contract(s) to which it
          is directed. For each particular Contract whose assumption is not timely or properly objected to, such
          assumption will be effective in accordance with this Assumption Notice and Order.


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 Dated: May __, 2019           /s/
 New York, New York            KATTEN MUCHIN ROSENMAN LLP
                               Steven J. Reisman, Esq.
                               Jerry L. Hall, Esq. (admitted pro hac vice)
                               Cindi M. Giglio, Esq.
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                               -and-

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                                    SCHEDULE 1

                                  Assumed Contracts


   Debtors(s)     Counterparty   Counterparty   Description of   Abandoned   Rejection
    Party to                       Address        Contract        Personal     Date
   Contract                                                       Property




                                         5
